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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
BMADDOX ENTERPRISES LLC,

                               Plaintiff,

       -v-
                                                      CIVIL ACTION NO.: 17 Civ. 1889 (RA) (SLC)

                                                                SCHEDULING ORDER
MILAD OSKOUIE, OSKO M LTD, and PLATINUM
AVENUE HOLDINGS PTY, LTD,

                               Defendants.


SARAH L. CAVE, United States Magistrate Judge.

       In an Opinion & Order dated August 18, 2021 (the “O&O”), the Honorable Ronnie

Abrams granted in part Plaintiff’s motions for summary judgment and for default judgment

as to Counts I and II for copyright infringement, and directed that default judgment be

entered against Defendants Platinum Avenue Holdings Pty Ltd. and Osko M Ltd. (the “Entity

Defendants”). (ECF No. 218). As to Count II against the Entity Defendants, Judge Abrams

concluded that “Plaintiff has provided no evidence of the effect of Defendants’ infringement

on the market value of its website[,]” and referred the matter to the undersigned for an

inquest into damages. (ECF No. 218 at 31).

       Accordingly, it is hereby ORDERED that:

             1.   Plaintiff shall submit proposed findings of fact and conclusions of law

                  concerning damages no later than Friday, November 19, 2021. Plaintiff

                  must support all factual assertions by affidavit and/or other evidentiary

                  material.   Plaintiff’s requested attorneys’ fees and costs must be

                  recorded in the form below, adding fields as necessary, and supported

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                  by evidentiary material.

            2.    Defendants shall submit their response to Plaintiff's submissions, if any,

                  no later than Monday, December 20, 2021. IF DEFENDANTS (1) FAIL

                  TO RESPOND TO PLAINTIFF'S SUBMISSIONS, OR (2) FAIL TO CONTACT

                  MY CHAMBERS BY DECEMBER 22, 2021 AND REQUEST AN IN-COURT

                  HEARING, I INTEND TO ISSUE A REPORT AND RECOMMENDATION

                  CONCERNING        DAMAGES        BASED      ON     PLAINTIFF'S     WRITTEN

                  SUBMISSIONS ALONE WITHOUT AN IN-COURT HEARING.                           See

                  Transatlantic Marine Claims Agency, Inc. v. Ace Shipping Corp., 109 F.3d

                  105, 111 (2d Cir. 1997) (“‘[I]t [is] not necessary for the District Court to

                  hold a hearing, as long as it ensured that there was a basis for the

                  damages specified in a default judgment.’” (quoting Fustok v.

                  ContiCommodity Services Inc., 873 F.2d 38, 40 (2d Cir. 1989))).

         Plaintiff is directed to serve this Order on Defendants and file proof of service by no

later than Monday, November 1, 2021.


Dated:           New York, New York
                 October 21, 2021

                                                       SO ORDERED.



                                                       _________________________
                                                       SARAH L. CAVE
                                                       United States Magistrate Judge




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                        Requested Attorneys’ Fees

Timekeeper        Requested Rate         Requested Hours   Requested Total




                                   3
